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                                                                                                                                             2021 Apr-26 AM 09:21
                                                                                                                                             U.S. DISTRICT COURT
                                                                                                                                                 N.D. OF ALABAMA


 Pro Se 14 (Re\'. 09116) Complaint for Violation ofCi\'·iJ Rights (Prisoner)



                                    UNITED STATES DISTRICT COJ!]lz~!f.a 1s ,::J 1• 13                                                .
                                   NORTHERN DISTRICT OF ALABAMA
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                                       Plaintiff                                      )
(Tf'rite your full na1ne. !v'o 111ore than one plaintiff may be nanied in             )
a co111p/aint.)                                                                       )
                                          -v-                                         )
                                                                                      )          (to be filled in by the Clerk S Office)
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                                                                                      )
                                                                                      )
                                                                                      )
                                                                                      )
                                                                                      )
                                   Defendant(s)                                       )
                                                                                      )
OYrite the full name o.f each defendant who is being sued. If the
names of all o_f the defendants cannot fit in the space above. please
                                                                                      )
ivrite ··see attached" in the space and attach an additional page                     )
with the.fu// list o_fnan1cs. Do not include addresses here. }Our                     )
conzplaint n1a.v be brought in this court on~v 1/ one or n1ore o_f the                )
named de_fendants is located 1vithin this district)



                                 COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
                                                                          (Prisoner Complaint)


                                                         NOTICE
Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
electronic court files. Under this rule, papers filed with the court should not contain: an individual's full social
security number or full birth date; the full name of a person known to be a minor; or a complete financial
account number. A filing may include only: the last four digits of a social security number; the year of an
individual's birth: a minor's initials; and the last four digits of a financial account number.

Except as noted in this form. plaintiff need not send exhibits, affidavits, grievance or witness statements, or any
other materials to the Clerk's Office with this complaint.

In order for your complaint to be filed, it must be accompanied by the filing fee of$400.00 or an Application to
Proceed In Forma Pauperis.

Mail the original complaint and the filing fee of $400.00 or an Application to Proceed In Forma Pauperis to the
Clerk of the United States District Court for the Northern District of Alabama, Room 140, Hugo L. Black U.S.
Courthouse, 1729 5th Avenue North. Binningham, Alabama 35203-2195.
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I.   The Parties to this Complaint

A.   The Plaintiff

     Provide the information below for the plaintiff named in the complaint.

       Name
       All other names by which
       you have been known:
       ID Number
       Current Institution
       Address

                                                    City                    State              Zip Code

B.   The Defendant(s)

     Provide the information below for each defendant named in the complaint, whether the defendant is an
     individual, a government agency, an organization, or a corporation. Make sure that the defendant(s) listed
     below are identical to those contained in the above caption. For an individual defendant, include the
     person's job or title (if known) and check whether you are bringing this complaint against them in their
     individual capacity or official capacity, or both. Attach additional pages if needed
     Defendant No. 1

       Name
       Job or Title (if known)        LTo
       Shield Number
       Employer
       Address
                                                                            l\l
                                                   City                     State              Zip Code

                                      ef Individual Capacity               Official Capacity
     Defendant No. 2

       Name                          (S~i:JCofb~f\ 0 .luAS+A\\
       Job or Title (if known)         SG,T.
       Shield Number
       Employer
       Address                                                                             Don1\\(\~0 (\
                                                                                               35020
                                                   City                     State              Zip Code

                                      00 Individual Capacity               Official Capacity


                                                     2
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      Defendant No. 3

           Name                                \\ . f?etk{S
           Job or Title (if known)
           Shield Number
           Employer
           Address
                                               ~1\€-(                          -~-\__               3502_~
                                                          City                   State               Zip Code
                                                                     ~



                                                 Individual Capacify            Official Capacity
      Defendant No. 4

           Name
           Job or Title (if known)
           Shield Number
           Employer
           Address
                                                                                                    3;so22>
                                                          City                   State               Zip Code

                                           IS{ Individual Capacity         0' Official Capacity
II.   Basis for Jurisdiction

      Under 42 U.S. C. § 1983, you may sue state or local officials for the "deprivation of any rights,
      privileges, or immunities secured by the Constitution and [federal law]:' Under Bivens v. Six Unknown
      Named Agents of Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may sue federal officials for
      the violation of certain constitutional rights.
      A.     Are you bringing suit against (check all that apply);


             ~     Federal officials (a Bivens claim)

             ['!'( State or local officials (a§ 1983 claim)
      B.     Section 1983 allows claims alleging the "deprivation of any rights, privileges, or immunities,
             secured by the Constitution and [federal laws]:' 42 U.S. C. § 1983. If you are suing under section
             1983, what federal constitutional or statutory right(s) do you claim is/are being violated by state or
             lp,cal officials?                             h
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       c.    Plaintiffs suing under Bivens may only recover for violation of certain constitutional rights. If you
             are suing under Bivens, what constitutional right(s) do you claim is/are being violated by federal
             officials?




       D.    Section 1983 allows defendants to be found liable only when they have acted "under color of any
             statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of
             Columbia:' 42 U.S.C. § 1983. If you are suing under section 1983, explain how each defendant
             acted under color of state or local law. If you are suing under Bivens, explain how each defendant
             acted under color of federal law. Attach additional pages if needed.
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III.   Prisoner Status

       Indicate whether you are a prisoner or other confined person as follows (check all that apply):

       D      Pretrial Detainee
       D Civilly committed detainee
       D Immigration detainee
        lYl Convicted and sentenced state prisoner
       D Convicted and sentenced federal prisoner
       D Other
             (explain)

IV.    Statement of Claim

       State as briefly as possible the facts of your case. Describe how each defendant was personally involved
       in the alleged wrongful action, along with the dates and locations of all relevant events. You may wish to
       include further details such as the names of other persons involved in the events giving rise to your
       claims. Do not cite any cases or statutes. If more than one claim is asserted, number each claim and write
       a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.

       A.    If the events giving rise to your claim arose outside an institution, describe where and when they
             arose.




       B.    If the events giving rise to your claim arose in an institution, describe where and when they arose.




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      C.     What date and approximate time did the events giving rise to your claim(s) occur?
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      D.     What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?
             Was anyone else involved? Who else saw what happened?
                 See_ A~c..\.--e..6-

V.    Injuries

      If you sustained injuries related to the events alleged above, describe your injuries in detail.
       f\ \o<'c..\\e.:t\ PIAk ',Y\.Mta loWe-t ~i~W\- .)eiw f\n~ ~


VI.   Relief

      State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or
      statutes. If requesting money damages, include the amounts of any actual damages and/or punitive
      damages claimed for the acts alleged. Explain the basis for these claims.

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VII.   Exhaustion of Administrative Remedies Administrative Procedures

       The Prison Litigation Reform Act ("PLRA"), 42 U.S.C. § 1997(a), requires that '·[n]o action shall be
       brought with respect to prison conditions under section 1983 of this title, or any other Federal law, by a
       prisoner confined in any jail, prison, or other correctional facility until such administrative remedies as
       are available are exhausted."

       Administrative remedies are also known as grievance procedures. Your case may be dismissed if you have not
       exhausted your administrative remedies.

       A.    Did your claim(s) arise while you were confined in a jail, prison, or other correctional facility?


             if Yes
             D    No

             1f yes. name the jail, prison, or other correctional facility where you were confined at the time of
             the events giving rise to your claim(s).
              wHt~f\W\ £               doY\~\6SOI\.
       B.    Does the jail, prison. or other correctional facility where your claim(s) arose have a grievance
             procedure 9

             D   Yes




             D    DoNotKnow


       C.    Does the grievance procedure at the jail, prison, or other correctional facility where your claim(s) arose
             cover ·some or. all of your claims?

             D   Yes




             D    Do Not Know

             If yes. which claim(s)9




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D.     Did you file a grievance in the jail, prison, or other correctional facility where your claim(s) arose con-
       cerning the facts relating to this complaint?

      0'ves

      D      No

       If no, did you file a grievance about the events described in this complaint at any other jail, prison, or
       other correctional facility?


      D      Yes

      D     No

E.     If you did file a grievance

      I.    Where did you file the grievance?




       2.   What did you claim in your grievance 9




      3.    What was the result, if any?




      4.    What steps, if any, did you take to appeal that decision? Is the grievance process completed? If
            not, explain why not. (Describe all efforts to appeal to the highest level of the grievance
            process.)

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       F.     lfyou did not file a grievance:

              I.    If there are any reasons why you did not file a grievance, state them here:




              2.    If you did not file a grievance but you did inform officials of your claim, state who you
                    informed, when and how, and their response, if any:




       3.     Please set forth any additional information that is relevant to the exhaustion of your administrative
              remedies.




              (Note: You may attach as exhibits to this complaint any documents related to the exhaustion ofyour
              adn1inistrative re111edies.)

VIIL   Previous Lawsuits

       The "three strikes rule" bars a prisoner from bringing a civil action or an appeal in federal court without
       paying the filing fee if that prisoner has "on three or more prior occasions, while incarcerated or detained in
       any facility, brought an action or appeal in a court of the United States that was dismissed on the grounds that
       it is frivolous, malicious, or fails to state a claim upon which relief may be granted, unless the prisoner is under
       imminent danger of serious physical injury." 28 U .S.C. § 191 S(g).

       To the best of your knowledge, have you had any cases dismissed based on grounds that it was frivolous,
       malicious, or failed to state a claim upon which relief may be granted?

       D      Yes

       if No
       If yes, state which court dismissed your case(s), when this occurred, and attach a copy of the order(s) if
       possible.




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A.     Have you filed other lawsuits in state or federal court dealing with the same facts involved in this
       action?

      l'lf Yes
       D    No


B.    If your answer to A is yes, describe each lawsuit by answering questions I through 7 below. (If
       there is more than one lawsuit, describe the additional lawsuits on another page, using the same
      format.)


       I.   Parties to the previous lawsuit

            Plaintiff(s)

            Defendant(s)


       2.   Court (iffederal court, name the district; if state court, name the county and State)




       3.   Docket or index number




       4.   Name of Judge assigned to your case




       5.   Approximate date of filing lawsuit




       6.   Is the case still pending9

            D    Yes

            lilf' No

       If no, give the approximate date of disposition.


       7.   What was the result of the case? (For example: Was the case dismissed? Was judgment
            entered in your favor? Was the case appealed?)

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IX.   Certification and Closing

      Under Federal Rule of Civil-Procedure 11, by signing below. I certify to the best of my knowledge,
      information, and belief that this complaint: (I) is not being presented for an improper purpose, such as
      to harass, cause unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by
      existing law or by a nonfrivolous argument for extending, modifying, or reversing existing law; (3) the
      factual contentions have evidentiary support or, if specifically so identified, will likely have evidentiary
      support after a reasonable opportunity for further investigation or discovery; and ( 4) the complaint
      otherwise complies with the requirements of Rule 11.

      I agree to provide the Clerk's Office with any changes to my address where case-related papers
      may be served. I understand that my failure to keep a current address on file with the Clerk's
      Office may result in the dismissal of my case.


      Printed Name of Plaintiff
      Prison Identification #
      Prison Address                           100 w !1H'tor \®e wn\~ E. ~r.f\\~~crt\.
                                                ~~e)'Y\«                           f\\               ~So:J..3
                                                           City                          State          Zip Code




      I declare under penalty of perjury that the foregoing is true and correct.

      Executed on   03 -03- .2J).2J
                                (Date)




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                                                                                 ADOC

                                                  DEPARTMENT OF CORRECTIONS

                         RECEIPT OF MEDICAL EQUIPMENT/APPLIANCE FORM


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        acknowledge receipt of the following medical equipment or appliance:


                    Splint
                    Eyeglasses
                    Dentures
                    Prothesis        describe _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _---'-._..
                                                                                          -. _ __

                    Wheelchair
                    Cane
        (     )     Crutches
        ( y ) Other                  describe _    __J(
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        I acknowledge that the equipment/appliance is functional for my use.
        I also acknowledge the equipment/appliance is in good working condition.




             ; ate)                                                                                       (Date)



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             (Witn••wr                                                                                    (Date)




   INMATE NAME (LAST, FIRST, MIDDLE)                                                                     DOC#                     DOB            R/S       FAC.




CP70005AL -- ADOC AL-70005-Reooipt of Medi<OI Eq,ipme"t                i o{ \s                             (White - Medical File, Yellow - Security Property Officer)
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                                                   Alabama Department of Corrections
                                                                                     Sick Call Request
                                                                                                                                                                                                                                  @



 Sick Call Form Collected by Health Staff: _ _ _ (initials) Title: _ _ _ Date: _ _ _Time: _ __                                                                                                                                                                   ..
 Request Triaged (check as appropriate):

 A.         _Sick Call Nurse Encounter Not Required                                                                           (1)         __ Referring to Chronic Care Manager

                                                                                                                              (2)         __Written Response/Instruction Being Provided


                                                                                                           .
---------------------------------------------"'----------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------
 B.         _, _Nurse Sick Call Encounter Required                                                                            (1)         _Bring to HCU at this time for further evaluation

                                                                                                                              (2)                    Evaluate in next scheduled Nurse Sick Call Clinic




 Signature/Title:                                                                                                                                                                           Date:


 Sick Call Encounter (Nurse Evaluation Tool Completed):

 1        _ _ Resolved by Nurse Encounter                                                                                          2       _Referral for follow up required; to be scheduled

          Co-Pay Fee Incurred:                                                                                                                (a)                  Medical Provider

          _          $4.00 - Nurse                                                                                                            (b)                  Dental Clinic

          _          $4.00 - OTC(s); If Restrictive Housing-no OTC charge                                                                     (c)                  Mental Health Services

          _          $4.00 - Scheduled but Refused Encounter                                                                                  (d)                  Other: _ _ _ _ _ _ _ _ __




                                                                                                                                                                                                AIS#


 ADOC-OHS form E-7 (a) 022013                                      Distribution: Original (page 1)-lnmate Health Record
 CP7166AL                                                                       Copy (page 3)-retained by inmate
 Issued 10/2013, Revised 11/2014                                                Copy (page 2)-inmate post health review


                                                                                                    Cl\         o+ \~                                                                                                                                       ,;
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    HIPAA COMPLIANT AUTHORIZATION FOR RELEASE OF MEDICAL/PSYCHIATRIC/SUBSTANCE
    ABUSE-ARREST/CRIMINAL-CORRECTIONAL/PROBATION/PAROLE/SCHOOL/EDUCATION-UTIGATION-
    EMPLOYMENT/INCOME/RECORDS AND INFORMATION

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    and Social Security Number:                                  . do hereby Authorize the Release of any information, including
    Registration information, Admission and Discharge summaries, History & Physicals, Consultation reports. Operative reports.
    Laboratory reports, Pathology reports, Diagnostic reports, emergency room records, (including copies) as well as any other reports,
    evaluations, testing assessments, histories, examinations, notes, prescriptions,-treatment plans and instructions, limitat1onnir ar;y·--
    other form of document relating to t't;ie diagnosis and/or treatment of any real or suspected· conditions; 1htlud1hg~buenot limitea tO - c , -
    medical, psychiatric, psychological, si.Jbstan.ce abuse, communicable diseases· such as-HIVI AIDS arid sexually related disorder, which
    is under your care, custody or control,- pertaining to myself or any other person forwhom I may legally consent.

    I do further Authorize the Release of any form of Arrest or Criminal Records; Correctional      or Probation and/or Parole Records dr -
    information in the possession of any com~unity, city, county, state or federal penal institution, including juvenile facilities, medical
    facilitates, mental health facilities, sul;>stance' abuse treatment facilities and any court of probation or parole-department. ·iris my
    intention that this authorization include any and all information contained iii my Central File; Unit-File; Classification file,:Grievance
    File, Gang Classification File, Medical Servk:e File, Counseling, Education or fo the-Treatment file cir Probation/Parole Case or
    Supervision File including: Travel cai:Cl$, Incident reports, Disciplinary Reports, Ed1o1cationarorTrainirig Recdrds,-Diagnostic,
    Assessment or Treatment records or P_togress.Reports for any Medical, Psychiatric o~ Educational services            orother documents; data, -
    reports, offense information (reports; summaries, records, statements, documents, notes), case file documents or notes and/or
    reports or any other form of informati~n.               '                                                       ·- --- - ~- - ·- -· -

    I do hereby further Authorize the Release of'any Litigation or Attorney files records/and- m·aterials cohcernthg my presentation in _
    any and all criminal or civil matters, whether pending or closed. This release covers all materials in the possession of my attorney
    and/or his agents including, but not limited to: all files, memoranda, records, (Including medical, psychiatric, substance abuse,
    school, employment criminal and mil.it~ ry re~-ords); statement by witnesses or myself; whether given orally taped or in writing; and -
    notes (including investigative and research notes: and note of meetings andtelephorie conversatToris concerning my representation. - -

    I do hereby further authorize the Rel~ase of any form of Employment Records application, hiring, disciplinary or termination
    documents, data, reports, evaluations; 9s well as any accident or incident information or other employment file documents and/or' ·
    reports or any other employment form of information pertaining to my present and/or previous employment history,
    unemployment, worker s c6mpensati?n:_social Se_curity Earnings information.:!__ ..... ,: ....... ,,.
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\   I do hereby further authorize the rele~se of any form of inco~e or financial reco'rds; inclCJding: payroll cir earningflnformatioi'I,
    banking, checking, savings or loan depqsit, yvithdrawal or payment records; and any tax-records-or filings submitted to any State'or' '
    Federal Internal Revenue Service or tax office.                                " -- ·-

    I do hereby Authorize the Depa rtmef)t of Human Resources and or protectivese'Nices,as relates -to my representative any and alJ:::;_:
    information records, documents or reports that they have in their possession concerning myself or my-child(ren); including but not -·'
    limited to any medical psychologicaf>criminal history, educational or other repcirtS contained in their case records .. , understand that c
    any information that would identify-any reporter of any compliant of alleged and/or neglect will be· redacted from the material' · .-
    related pursuant to this authorization .. I EXPRESSLY WAIVE, RELEASE, AND DISCHARGE 'T'HE DEPARTMENT AND ITS OFFICERS AND,
    EMPLOYEES FROM ANY CAUSE OF ACTION OR CLAIMS ARISING FROM ANY DISCLOSURE OF fNFORMATION OR RELEASE CiF -
    CONFIDENTIAL RECORD~, PURSUANT TO TH:TS AUTHORIZATION.                                       - -.,- - - ~ -

    Purpose:       +-() s~~ ~\Off _af- \':c,~\-y\-~ be~r£\ v~~\ f\\e_,¢
    Revocation: This consent will expire. ·2=0    X2":            from the fulfillment of this request by the provider unless revoked by
    me in writing. Copies of this request fqr information shall be treated as an original. Information provided pursuant to this request
    may be used or red-disclosed by the! recipient and no longer protected by th'e! federalprhiacy:regulati6ns'. -

    All records should be released immediately u_Rop request to:     _J~~~-~l~f&-:~:=.-~d-~i\S!M!B~~o~"~--__:~.:..'.:.
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TO: Warden      Pet\e.,CS          ; Warden SY"\~t~              ; Captain   <1ch""~Y\,
        Captain ~c...o.\-~

From:   clA~ VJ~\\1~Sttle,~ AIS# 2.7{51..flil           Bed# U7


Re: Formal Complaint against5<':tT.. Corhi-\ t>             about being in violation of Admi~.
                                                   Tvr\$tt\\\,
Reg. 208; Admin Reg. 327; Assault 3rd degree in violation of §13A-6-22 by Officers and
Guards; Failure to discharge duties; other violations of§ 14-11-4.


Date0~-0~-l02 \


                                            COMPLAINT



                                            , respectfully submit this complaint of "Employee
Standards of Conduct" pursuant to Admin. Reg. 208 & 327 and all applicable provisions of Title
§13A-6-22 and §14-11-4, of the Code of Alabama 1975, based on the unauthorized conduct of
Officers S9t.corbtn () "'tvf\~\-1\~\     , as related in the following sworn statements.
   On the    qt-~ day of A'frn·              '2~0fficer/Guard w.(4\;.Y\ DTuns~\\ ,
violated the following provisions of AR 208, 327 and §13A-6-22 & §14-11-4, of the Alabama
1975.

   1. At AR 208, Section V (A)(7) which provides: All ADOC employees shall adhere to the
following standards: (2) Render full, efficient, and industrious service; (4) Exercise courtesy and
tact; (7) Observe all laws, rules and regulations; (8) Uphold, with integrity, the public's trust
involved in the position.
   At AR 208, Section V (B) provides: Each employees conduct shall, at all times, be consistent
with the maintenance of proper security and welfare of the institution and of the inmates under
his/her supervision.
   At AR 208, Section V (C) provides: Employees shall not: (4) Use profane, abusive, or
threatening langauge in communication with other employees, the public, or when supervising
inmates; (17) Apply physical force to an inmate, except and only to the degree that is reasonably




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necessary in self-defense, to prevent an escape, to prevent an injury to a person or the destruction
of property, to quell a disturbance, or to restrain an inmate who exercise physical resistance to a
lawful command.
   Also see AR 327 which defines excessive force as 11 [t]he amount of force which is beyond the
need and circumstances of the particular event, or which is not justified in light of all of the
circumstances[,]"; and provides that the application of physical force 11 [m]ust be reasonable and
necessary under the circumstances[,] ... [s]hall be only the minimum amount necessary to control
the situation or achieve a legitmate correctional objective[,] ... [s]hall never be used as
punishment[,] ... [s]hall be dependent upon the inmate's action or non-action[,] ... [s]hall be
determined on a case by case basis and the employee using or authorizing force will be required
to justify the action taken[,] ... [a]nd will stop when resistance offered by the inmate ceases and
the inmate is under control and placed in appropriate restraints. 11
§13A-6-22 states: "Assault; third degree.
      (a) A person commits the crime of assault in the third degree if:
        (1) With intent to cause physical injury to another person, he causes physical injury to any
person; or
        (2) He recklessly causes physical injury to another person; or
        (3) With criminal negligence he causes physical injury to another person by means of a
deadly weapon or a dangerous instrument; or
        (4) With intent to prevent a peace officer from performing a lawful duty, he causes
physical injury to any person. 11 and § 14-11-4 states:
[Officers and guards; failure to discharge duties; other violations. Any guard or any person
having the charge, management or control of any convict who fails to discharge any of the duties
imposed upon him by law or in any other way violates any of the provisions of law regulating or
governing the inspection, treatment, confinement, working or guarding or the charge,
management or control of convicts, state or county, when no other punishment is provided for
such failure in duty or violation of law, must, on conviction, be fined not more than $1000.00,
and may also be imprisoned in the county jail or sentenced to hard labor for the county, for not
more than 12 months.]




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                         STATEMENT OF THE FACTS

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                                              REQUEST FOR RELIEF
               I respectfully request that you conduct an investigation into the actions of the Officers
       listed above. I want this matter turned over to the Jefferson County District Attorneys Office for
       the (Bessemer Division) of Jefferson County for the commencement of criminal proceedings for
       the above violations of the Code of Alabama 1975.
                                                           Respectfully Submitted,
                                                         cr~~s !,J°\\\';'(\"W\ ~\e,~
                                                         AIS# J.. 1 <05'-fL-{ Bed # jLJ
                                                         100 Warrior Lane
                                                         Bessemer, AL 35023

       cc: State Personnel Department
           Federal Bureau oflnvestigation (FBI)
          Attorney Generals Office (Alabama)


                                             SWORN VERIFICATION

          Before me the undersigned authority, a Notary Public, in and for said County and State of
       Alabama at large personally appeared before me o'(\Y"\€.S W01\ l • 'AV"\ ~i\i\e...S
                                                                           0
                                                                                                      , who
       being known to me and duly sworn by me, states under oath that the foregoing statements are
       true and correct.
       On this ·io-!-~day of   (Y\t'.\fG~                 '201>91.\




       Notary Pubile                                             My Commission Expites




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TO: Warden R~.:tkf£,               ; Warden )VV\tt~              ; Captain Jo h4\~ ll V'\

        Captain ~o \-   t
From: cl1\W\ €S     5 A-\€..-     AIS# 2..1~£41-/.      Bed#-V=7
                                                              =----


Re: Formal Complaint againstl.J. (A{\ Sn-~s                , about being in violation of Admin.
Reg. 208; Admin Reg. 327; Assault 3rd degree in violation of§ 13A-6-22 by Officers and
Guards; Failure to discharge duties; other violations of§ 14-11-4.


Date:O ~ - o~-102 l



                                             COMPLAINT



         I JI\~~ "'1 ~ \ ~t\l'V\, ~A-le~     , respectfully submit this complaint of "Employee
Standards of Conduct" pursuant to Admin. Reg. 208 & 327 and all applicable provisions of Title
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OfficersL T~CAf\ ~AMef~                    , as related in the following sworn statements.
   On the    qt-~ day of f\Pr~ l              , 2-0Jj Officer/Guard LT. Gl\f\ SAAd-ef"S
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   1. At AR 208, Section V (A)(7) which provides: All ADOC employees shall adhere to the
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necessary in self-defense, to prevent an escape, to prevent an injury to a person or the destruction
of property, to quell a disturbance, or to restrain an inmate who exercise physical resistance to a
lawful command.
   Also see AR 327 which defines excessive force as "[t]he amount of force which is beyond the
need and circumstances of the particular event, or which is not justified in light of all of the
circumstances[,]"; and provides that the application of physical force "[m]ust be reasonable and
necessary under the circumstances[,] ... [s]hall be only the minimum amount necessary to control
the situation or achieve a legitmate correctional objective[,] ... [s]hall never be used as
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determined on a case by case basis and the employee using or authorizing force will be required
to justify the action taken[,] ... [a]nd will stop when resistance offered by the inmate ceases and
the inmate is under control and placed in appropriate restraints."
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management or control of convicts, state or county, when no other punishment is provided for
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                         STATEMENT OF THE FACTS

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                                          REQUEST FOR RELIEF
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     the above violations of the Code of Alabama 1975.
                                                       Respectfully Submitted,


                                                     1~~~~n~~~~;~
                                                     100 Warrior Lane
                                                     Bessemer, AL 35023

     cc: State Personnel Department
         Federal Bureau of Investigation (FBI)
        Attorney Generals Office (Alabama)


                                         SWORN VERIFICATION

        Before me the undersigned authority, a Notary Public, in and for said County and State of
     Alabama at large personally appeared before me       J AMeS \,.Jn\~~\¥\ S~~                 , who
     being known to me and duly sworn by me, states under oath that the foregoing statements are
     true and correct.
     On this St~day of VV\1\\ G~




     Notary Pubile                                           My Commission Expites




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